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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

RHINO AVIATION CJ510 LLC AND  §
SB 501 LLC,                   §
                              §
Plaintiffs,                   §                      Civil Action No. 4:24-cv-00615
                              §
v.                            §
                              §
WHITMORE HOLDINGS LLC AND     §                              Jury Demanded
DUPAGE AEROSPACE CORPORATION, §
                              §
Defendants.                   §

                                      ORDER

    Considering the foregoing Motion to Dismiss (ECF Doc. 17),

    IT IS ORDERED that the Motion is DENIED.

    Signed in Houston, Texas this ______ day of ___________, 2024.


                                       ____________________________________
                                       UNITED STATES DISTRICT JUDGE
